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UNITED STATE DISTRICT COURT
For the WESTERN DISTRICT OF WASHINGTON

at Seattle
UNITED STATES OF AMERICA,
. )
Plaintiff, ) Case No.: MJ21-067
)
VS. ) WAIVER OF RULE 5(c)(3)(D) HEARING

) and ORDER OF TRANSFER
ETHAN NORDEAN, )
Defendant

 

 

 

WAIVER OF RULE 5(c)(3)(D) HEARING

 

I, Ethan Nordean, have appeared before a United States Magistrate Judge in the Western
District of Washington, who has advised me of the provisions of Rule 20 and of my right to
further hearing pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure. I wish to

waive my right to such further hearing, therefore:

a) I acknowledge that I am the person named in an indictment, information, or
Warrant pending in the U.S. District Court for the District of Columbia;

b) I waive my right to production of the warrant or of any other original paper
Related to these charges or certified copies thereof;

c) IfI am entitled to a preliminary examination. I elect to have it conducted in
the district where the prosecution is pending: and

d) I consent to the issuance of an order directing me to appear and answer in said
district where the charges are pending

 
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Dated this 8th day of February, 2021.

 

 

/s Corey Endo Corey Endo for Ethan Nordean
Defense Counsel Defendant
ORDER OF TRANSFER

 

Based upon the foregoing Waiver, it is hereby ORDERED that the further proceedings in
this case shall be conducted in the U.S. District Court for the District of Columbia. The Clerk of
this Court shall forthwith transmit to the Clerk in said district the records of proceedings
conducted in this district. Unless the defendant is released on bond, the U. S. Marshal is directed
to transport defendant as promptly as possible to that district.

If released on bond, the defendant is directed to appear in that district for further proceedings at

the time and place specified on the bond, or as otherwise directed by court order.

Dated this 8th day of __ February , 2020

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United States Magistrate Judge

 
